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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


DARANCOHN,
                      Plaintiff                           CIVIL ACTION

              v.

PENNSYLVANIA STATE UNIVERSITY,                            No. 19-2857
              Defendant


                                              ORDER

       AND NOW, this 13th day ofNovember, 2019, upon consideration of the Plaintiffs Motion

for Extension of Time requesting a 60-day extension to respond to Defendant's motion to dismiss

(Doc. No. 10), it is ORDERED that Plaintiffs motion (Doc. No. 10) is GRANTED IN PART

and DENIED IN PART. Plaintiffs response to Defendant's motion to dismiss (Doc. No. 5) is

due on or before December 12, 2019.
